                       Case 9:16-cr-00012-DLC Document 58 Filed 04/21/17 Page 1 of 7
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 1
                                                                                                                             FILED
                                                                                                                               APR 2 1 2017
                                         UNITED STATES DISTRICT COURT                                                       Clerk, U S District Court
                                                                                                                              D1stnct Of Montana
                                                               District of Montana                                                  Missoula
                                                                         )
                UNITED STATES OF AMERICA                                 )    JUDGMENT IN A CRIMINAL CASE
                                  v.                                     )
                                                                         )
                  JOHN ROBERT DEYOUNG                                         Case Number: CR 16-12-M-DLC-2
                                                                         )
                                                                         )    USM Number: 16269-046
                                                                         )
                                                                         )     Robert Bernhoft
                                                                         )    Defendant's Attorney
THE DEFENDANT:
liZI pleaded guilty to count(s)        Count 1 of the Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended
 18 u.s.c. § 371                   Conspiracy to Defraud the United States                                  4/5/2016                    1




       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
                                                                         __
                                                                          7 _ _ of this judgment. The sentence is imposed pursuant to  -
liZI Count(s)     2, 3, 4 of the Indictment             D is       !ill are dismissed on the motion of the United States.
                 - - - - - - - - -- - - -
         It is ordered that the defendant must notify the United States attorney or this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments im ed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material c an es in econormc circumstances.




                                                                          Dana L. Christensen, Chief Judge
                                                                         Name and Title of Judge


                                                                          4/21/2017
                                                                         Date
                       Case 9:16-cr-00012-DLC Document 58 Filed 04/21/17 Page 2 of 7
AO 2458 (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page   2   of   7
 DEFENDANT: JOHN ROBERT DEYOUNG
 CASE NUMBER: CR 16-12-M-DLC-2

                                                            IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  time served (1 day per BOP policy).




     D The court makes the following recommendations to the Bureau of Prisons:




     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
            D at                                               D p.m.       on

            D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows :




         Defendant delivered on                                                        to

 a - - - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                          By
                                                                                              DEPUTY UNITED STATES MARSHAL
                       Case 9:16-cr-00012-DLC Document 58 Filed 04/21/17 Page 3 of 7
AO 245B (Rev. I 1116) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                        Judgment- Page _____1___ of        7
DEFENDANT: JOHN ROBERT DEYOUNG
CASE NUMBER: CR 16-12-M-DLC-2
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 3 years.

                                                     MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.     l!1' You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901 , et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.     D You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                        Case 9:16-cr-00012-DLC Document 58 Filed 04/21/17 Page 4 of 7
AO 245B (Rev. 11 /16)   Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                                Judgment- Page _ _ _ _ _ of _ _ _ _ __
DEFENDANT: JOHN ROBERT DEYOUNG
CASE NUMBER: CR 16-12-M-DLC-2

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.    You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11 .   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 -------------
                      Case 9:16-cr-00012-DLC Document 58 Filed 04/21/17 Page 5 of 7
AO 245B(Rev. 11116)   Judgment in a Criminal Case
                      Sheet 30 - Supervised Release
                                                                                             Judgment- Page _ _ _ of
DEFENDANT: JOHN ROBERT DEYOUNG
CASE NUMBER: CR 16-12-M-DLC-2

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant will provide the United States Probation Officer with any requested financial information and shall incur
 no new lines of credit without prior approval of the United States Probation Officer. You must notify the Probation Officer of
 any material changes in your economic circumstances that might affect your ability to pay restitution, fines or special
 assessments.

 2. The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

 3. While on supervision, the defendant will fulfill all tax obligations in adherence to Internal Revenue Service requirements .

 4. The defendant shall submit their person, residence, place of employment, vehicles, and papers, to a search, with or
 without a warrant by any probation officer based on reasonable suspicion of contraband or evidence in violation of a
 condition of release. Failure to submit to search may be grounds for revocation. The defendant shall warn any other
 occupants that the premises may be subject to searches pursuant to this condition . The defendant shall allow seizure of
 suspected contraband for further examination .
                         Case 9:16-cr-00012-DLC Document 58 Filed 04/21/17 Page 6 of 7
AO 245B (Rev. 11/16)     Judgment in a Criminal Case
                         Sheet 5 - Criminal Monetary Penalties
                                                                                                         Judgment - Page      6     of        7
 DEFENDANT: JOHN ROBERT DEYOUNG
 CASE NUMBER: CR 16-12-M-DLC-2
                                                 CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                     JVTA Assessment*            Fine                        Restitution
 TOTALS               $ 100.00                     $                             $ 25,000.00                 $ 376,350.00


 D The determination of restitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

 itJ      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
          before the United States is paid.

 Name of Pa ee                                   Total Loss**
~~"-"-;o....;;..'""""-=·~~~~~~~-- -"-'-'-='-=~~,~~~~~--
                                                                                   Restitution Ordered                     Priority or Percentage
    lntemal Revenue Service-RAGS                                   $376,350.00                       $376,350.00




 TOTALS                                 $
                                                    $376,350.00                         $376,350.00


 liZ'.i   Restitution amount ordered pursuant to plea agreement $          376,350.00
                                                                           ---------~




 D        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           D the interest requirement is waived for the           D fine   D restitution.
           D the interest requirement for the          D   fine    D   restitution is modified as follows:

 *Justice for Victims of Trafficking Act of2015 , Pub. L. No. 114-22.
 ** Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
                        Case 9:16-cr-00012-DLC Document 58 Filed 04/21/17 Page 7 of 7
AO 2458 (Rev. 11 /16)   Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments

                                                                                                              Judgment - Page      7      of        7
 DEFENDANT: JOHN ROBERT DEYOUNG
 CASE NUMBER: CR 16-12-M-DLC-2

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant' s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~    Lump sum payment of$           100.00
                                          - - - - - - - due immediately, balance due

            D      not later than                                    , or
            D      in accordance with D C,           D D,       D     E, or     D Fbelow; or
 B     D Payment to begin immediately (may be combined with                   DC,         D D, or      D F below); or

 C     D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                            (e.g., months or years), to commence                     (e.g., 30 or 60 days) after the date of this judgment; or

 D     D    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                                                                                                            -------
                            (e.g., months or years) , to commence         _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant' s ability to pay at that time; or

 F     D    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 ~     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.
        Defendant is jointly and severally responsible for restitution with Peggy Ann DeYoung in USA v. DeYoung, CR 16-12-
        M-DLC-1.



 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant' s interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) NT A assessment, (8) penalties, and (9) costs, mcludmg cost of prosecution and court costs.
